                                                                                                      DISTRICT OF OREGON
                                                                                                            FILED
                                                                                                           March 25, 2020
                                                                                                   Clerk, U.S. Bankruptcy Court



             Below is an order of the court.




                                                                                 _______________________________________
                                                                                           PETER C. McKITTRICK
                                                                                           U.S. Bankruptcy Judge




                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON
In re
Eric Silva                                           )
                                                     )               19-34037-pcm12
                                                          Case No. _________________
                                                     )
                                                     )    ORDER CONFIRMING CHAPTER 12
                                                     )    PLAN AND RESOLVING MOTIONS
Debtor(s)                                            )

       The debtor's current plan was transmitted to the appropriate creditors and after hearing upon notice, the Court found
the provisions of 11 USC §1225(a) were complied with, THEREFORE IT IS ORDERED that:

        1. The debtor's plan dated _____________
                                       2/11/20   as modified by any amendment shown in pt. 10 below, is confirmed.

         2. The debtor shall incur no credit or debt obligations during the life of the plan without the trustee's written consent
unless made necessary by emergency or incurred in the ordinary course of operating the debtor's business. Unless waived
by the trustee in writing, the debtor shall immediately report to the trustee if actual or projected gross annual income exceeds
by more than 10% the gross farming income and/or net farm income projected by the debtor in the most recently filed Exhibit
D-1. Except for those amounts listed in the schedules, the debtor shall immediately report to the trustee any right of the debtor
or debtor's spouse to a distribution of funds (other than regular farm income) or other property which exceeds a value of
$2,500.00. This includes the right to disbursements from any source, including but not limited to bonuses and inheritances.
Any such funds to which the debtor becomes entitled shall be held by the debtor and not used without the trustee's permission,
or, if such permission is not obtained, a court order. The debtor shall not buy, sell, use, lease, encumber or otherwise dispose
of any interest in: (a) real property; or (b) personal property with a value exceeding $10,000.00 outside the ordinary course
of business without notice to all creditors and the trustee with an opportunity for hearing unless such property is acquired
through the use of credit and the trustee's permission is obtained pursuant to the first sentence of this paragraph.

        3. During the life of the plan, the debtor(s) shall timely file all required tax returns and provide copies of all tax returns
to the trustee each year immediately upon filing with the taxing authority. The debtor’s failure to pay postpetition taxes and/or
domestic support obligations may constitute cause for dismissal of the debtor’s chapter 12 case under 11 USC §1208(c).

      4. The debtor's attorney is awarded $_________________,
                                                See Par. 10 below   for attorney fees herein, of which $_________________
                                                                                                          See Par. 10 below
has been previously paid by the debtor leaving a balance of $_________________.
                                                               See Par. 10 below    The trustee is directed to pay any balance
from sums remaining after payments under pt. 2(b) of the plan are current.




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      5. The value of collateral securing debts due holders of secured claims is fixed at the values stated in the plan or the
modifications in pt. 10 below. Executory contracts and unexpired leases are assumed or rejected as provided in the plan or
the modifications in pt. 10 below. The name AND service address for each creditor affected by this paragraph are as follows:

See attached Continuation Statement No. 5.




      6. Nothing in the proposed plan or in this order shall be construed to prohibit the trustee from prevailing in any
adversary proceedings filed under 11 USC §§544, 545, 547, 548 or 549.

       7. The debtor, if operating a business without a tax account, shall open a separate bank account and promptly deposit
all sums withheld from employees' wages and all employer payroll taxes, and shall make no disbursements from such account
except to pay tax liabilities arising from payment of wages.

       8. All payments under the confirmed plan shall be paid no later than 5 years after entry of the first order confirming a
plan in this case. If all payments are not completed by that date, the case may be dismissed.

       9. All creditors to which the debtor is surrendering property pursuant to the plan are granted relief from the automatic
stay to effect possession and to foreclose.

      10. The debtor moves to amend the plan by interlineation as follows, which amendments are allowed and become part
of the confirmed plan [NOTE: Debtor must INCLUDE a service address for any creditor named below]:

     See attached Continuation Statement No. 10.




    11. The terms of this order are subject to any objection filed within 15 days by [NOTE: Debtor must INCLUDE a service
address for any affected creditor whose address is not already listed in pts. 5 or 10]:
Tillamook County Creamery Assoc.




     12. The trustee is authorized to commence disbursements in accordance with the plan.

      13. In the event this case is converted to one under Chapter 7 and the Chapter 12 trustee possesses funds aggregating
more than $2,500.00 at the time of conversion, the trustee shall forward all such funds to the Chapter 7 trustee. In the event
the funds in the trustee's possession at such time aggregate $2,500.00 or less, or in the event this case is dismissed, the
trustee shall forward all funds in the trustee's possession to the debtor in care of the debtor's attorney, if any. Nothing in this
paragraph is to be construed as a determination of the rights of the parties to such funds.

                                                               ###


I certify that on _____________
                      3/16/20   I served this Order on the trustee for submission to the court.


                                                                                     __________________________________
                                                                                            /s/ Nicholas J. Henderson
                                                                                       DEBTOR OR DEBTOR’S ATTORNEY
Approved: _____________________________
                 /s/ Virginia Burdette
                        Trustee




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                        Continuation Statement No. 5 to Order Confirming Plan

KeyBank, N.A.                       Boverman & Associates, LLC           Purina Animal Nutrition LLC
c/o Craig Russillo, Attorney        c/o Daniel J. Boverman               c/o Brandy Sargent, Attorney
Schwabe Williamson & Wyatt          11285 SW Walker Rd.                  K&L Gates
1211 SW Fifth Avenue, Suite 1900    Portland, OR 97225                   One SW Columbia Street, #1900
Portland, OR 97204                                                       Portland, OR 97204

Veterinary Services of Oregon       Fairview Trucking Co.                Farm Credit Svcs. of America
c/o Richard Veeman, Auth. Rep.      c/o Angeline Obrist, Reg Agent       PO Box 2409
3884 Mission Rd. NE                 7725 Trask River Rd.                 Omaha, NE 68103
St. Paul, OR 97137                  Tillamook, OR 97141

Tillamook County Creamery Assoc.    Tillamook County Creamery Assoc.
c/o Patrick Critseser, Reg. Agent   c/o Ben Fetherston, Attorney
4185 Highway 101 N                  4185 Highway 101 N
Tillamook, OR 97141                 Tillamook, OR 97141


                       Continuation Statement No. 10. to Order Confirming Plan

          Debtor moves to amend the plan by interlineation as follows, which amendments are
   allowed and become part of the confirmed plan:

   a) Paragraph 2(b)(1) and the Continuation Statement for Paragraph 2(b)(1) shall be
      amended as follows:

            For Key Bank (Class 3), the column labeled “Periodic Payment” is changed to the
             following:

                  o $9,500 per month for 6 months,
                  o $12,500 per month for 22 months;
                  o $45,000 per month for 14 months;
                  o $55,000 per month for 14 months; and then
                  o Debtor shall pay the remainder of Key Bank loan through sale or refinance (see ¶
                    13 of the Plan, as amended by the Order Confirming Plan).

            For Farm Credit Services of America (Class 12), the post-confirmation interest rate shall
             be changed to 5.75% per annum.

   b) Paragraph 3 of the Plan shall read as follows:

   The debtor moves for assumption of the following executory contracts and leases:

   Creditor                                   Amount of Default          Cure Provisions
   Tillamook County Creamery Assoc.           NONE                       N/A


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c) Continuation Statement to Paragraph No. 4 shall be amended as follows:

        Paragraph 5 of Continuation Statement to Paragraph No. 4 shall be amended to read:

         5) Tillamook County Creamery Assoc.: regular payments shall be made to TCCA
         through the monthly milk check, and TCCA is authorized to deduct $2,700 for funds
         improperly and inadvertently paid by TCCA to Boverman & Assoc. just prior to the
         petition.

        Paragraph 6 of Continuation Statement to Paragraph No. 4 shall be amended to read:

         6) ASL Claimants (Classes 2A, 2B and 2C): Debtor shall pay the Class 2 claims directly
         their pro-rata share of proceeds from pre-confirmation cattle sales that occurred after
         entry of the Final Order Authorizing Use of Cash Collateral of Debtor-In-Possession and
         Granting Adequate Protection [ECF No. 74]. Debtor estimates that he will have
         approximately $4,500 on hand from such sales as of the confirmation date, and will pay
         the actual proceeds within 10 days after entry of an Order Confirming Plan. Post-
         confirmation, ASL Claimants will continue to have a replacement lien on all new cattle.
         Debtor shall continue to segregate proceeds of sale of any cattle other than ordinary
         course, de minimus sales of non-producing or depleted dairy cattle. Proceeds of any non-
         ordinary course cattle sales shall be paid to the ASL Claimants pro-rata, within 20 days
         after such sale. All other payments to the ASL Claimants shall be made as set forth in
         Paragraph 2(b)(1) and the Continuation Statement to Paragraph 2(b)(1). ASL Claimants
         shall continue to receive reports of cattle sales post-confirmation.

        A new Paragraph 7 shall be added to Continuation Statement to Paragraph 4, to read:

         7) Within 30 days following the confirmation date, KeyBank and Debtor shall calculate
         the amount owing under the Debtor’s five existing promissory notes, including interest,
         fees and costs allowed under 11 U.S.C. § 506(b), and the parties shall execute appropriate
         documents to amend, restate and consolidate such notes and related loan documents
         (except for credit card accounts and legal fees and costs) into one loan obligation.
         Interest on the restated promissory note shall accrue at the rate of 6.5% per annum.

         Additional terms of the amended and restated KeyBank note:

         o The amended and restated note shall mature on January 1, 2025, and all remaining
           principal, accrued interest and unpaid fees and costs shall become due and payable.

         o The default clause of the amended and restated note will provide for a 30-day period
           following notice from KeyBank in which to cure any payment default.

         o The debtor will provide KeyBank with the following financial information and
           information related to the operation of his business: (1) quarterly financial statements
           (profit and loss statement, balance sheet) due 20 days after each calendar quarter; (2)
           annual financial statements due 30 days after the end of each fiscal year; and (3) the

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           debtor’s tax return and all accompanying schedules due 10 days after filing; (4) notice
           of any default in any scheduled payments to creditors under the plan due within 10 days
           following such default; and (5) copies of any complaint, demand, notice of default,
           notice of claim or similar documents received by the debtor within 10 days following
           receipt thereof.

         o The debtor will: (1) pay and discharge all federal, state, local taxes before they become
           delinquent; (2) maintain insurance on KeyBank’s collateral for the full insurable value
           thereof with KeyBank named as loss payee and additional insured; and (3) allow
           KeyBank access to the debtor’s premises with reasonable notice to inspect KeyBank’s
           collateral and examine the debtor’s books and records.

         o The debtor will not: (1) create, incur or assume any new material obligations or
           indebtedness not directly connected to his dairy business and disclosed in the budget
           and projections submitted in connection with confirmation of the plan; (2) create or
           suffer to exist any lien upon his properties or assets, except those arising in the ordinary
           course of business or by operation of law; and (3) sell, convey, transfer or otherwise
           dispose of any of KeyBank’s collateral without KeyBank’s written consent, except as
           specifically permitted by the plan or as may arise in the ordinary course of business.

         o All collateral securing the Debtor’s existing promissory notes to KeyBank will secure
           the new amended and restated promissory note with the same validity and priority that
           they secure the existing notes.

         o The Debtor will promptly execute such instruments and documents as KeyBank may
           reasonably request from time to time, including but not limited to modifications of
           mortgage and memoranda of modifications of mortgage, as may be necessary or
           appropriate to evidence the modification and restructure of the debtor’s loan documents
           under the plan.

d) The following shall be added to the end of Paragraph 5 of the Plan:

    KeyBank consents to a sale of the 23220 Blaine Road property free and clear of its lien,
    subject to the following: (1) the net proceeds to be paid to KeyBank shall be no less than
    $60,000; (2) KeyBank’s payment shall be applied first to KeyBank’s out-of-pocket legal fees
    and costs, then to the outstanding principal under the amended and restated note; and (3) all
    cattle purchased with the debtor’s share of the sale proceeds will be subject to a first priority
    lien in favor of KeyBank. In the event the Debtor fails to consummate a sale of the property,
    KeyBank’s attorneys’ fees and costs shall be added to the Debtor’s obligation evidenced by
    the amended and restated promissory note.

e) Paragraph 13 of the Plan shall be amended to read as follows:

    On or before month 48, Debtor shall refinance the Dairy Property at 26755 Blankenship
    Road, Beaver, OR, to pay Key Bank in full, and to contribute additional funds to the plan as
    may be needed to ensure that allowed priority and unsecured claims are paid in full by the


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    60th month of the Plan. If Debtor has not refinanced by month 48, Debtor shall list the Dairy
    Property for sale, and will sell the property before month 57.

f) Paragraph 14 of the Plan shall be amended to read as follows:

    Debtor has reached a settlement agreement with Boverman & Associates, LLC
    (“Boverman”), regarding Debtor’s Objection to Claim No. 29-1, on the following terms:

              Boverman’s claim shall be allowed as a priority claim under 11 U.S.C. §
               503(b)(3)(E), in the amount of $137,500;

              On the effective date of the Plan, KeyBank N.A. shall pay Boverman the sum of
               $65,000, and such payment shall be credited to reduce Boverman’s allowed claim by
               the same amount. The amount paid by KeyBank shall be part of the KeyBank
               Amended and Restated Promissory Note described in the Continuation Statement to
               Paragraph No. 4;

              Boverman’s remaining priority claim of $72,500 shall be paid in full within 6 months
               following entry of the Order Confirming Plan.

              Upon entry of the Order Confirming Plan, Boverman on the one hand, and Debtor
               and Key Bank on the other hand, hereby release and forever discharge each other, and
               all of their respective employees, agents, officers, owners, members, shareholders,
               attorneys, insurers, successors, and assigns, from any and all claims, demands, causes
               of action, damages, injury, expenses, or liabilities of any kind or nature whatsoever
               arising or accruing on or prior to the date of entry of the Order Confirming Plan,
               whether known or unknown, whether under contract, tort, or otherwise, including, but
               not limited to, any causes of action asserted or that could have been asserted in
               relation to Boverman’s appointment as a receiver for Debtor’s assets (the
               “Receivership”), and any claims arising subsequent to the bankruptcy petition related
               to the Receivership. The release granted hereby is intended to be as broad as possible
               and shall be interpreted accordingly. This release does not apply to either of the
               parties’ obligations under the plan or Order Confirming Plan.

         As a result of the settlement described above, for payments to creditors in Section 2(b)(1)
         that are to begin after administrative claims have been paid (which include attorney fees
         and the remainder of Boverman’s claim), payments to said administrative claimants shall
         not exceed $155,000.

g) Paragraph 16 shall be added to the Plan to read as follows:

    Promptly after entry of the Order Confirming Plan, Debtor shall submit paperwork to
    Tillamook County Creamery Association (“TCCA”) to have trustee payments paid directly
    from TCCA to the Trustee.




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h) Paragraph 17 shall be added to the Plan to read as follows:

    Debtor has indicated that he intends to appeal the Oregon Department of Agriculture’s
    (“ODA”) decision requiring Debtor to apply for an individual CAFO permit. Debtor shall
    diligently pursue the appeal, and shall promptly report the results of the appeal to the Chapter
    12 Trustee. If Debtor’s appeal is successful, he shall promptly pay any required fee to keep
    his CAFO permit in good standing. In the event the Debtor’s appeal is unsuccessful, Debtor
    shall promptly apply for the individual CAFO permit required by the ODA, and shall pay any
    associated fees.

i) Paragraph 18 shall be added to the Plan to read as follows:

    Debtor’s requested attorney fees shall be held in reserve by the Chapter 12 Trustee until
    allowed by separate order of the Court.




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